             Case 19-22715-CMB                    Doc 1     Filed 07/08/19 Entered 07/08/19 14:59:48                              Desc Main
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Fill In this Information to Identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF PENNSYLVANIA

Case number   (fl.,cwn)                                                     Chapter      11
                                                                                                                         C Check if this an
                                                                                                                           amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4119
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, Is available.


1.   Debtor’s name                5171 Campbells Land Co.. Inc.

2.   All other names debtor
     used in the last B years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor’s federal
     Employer ldentificaUon       XX-XXXXXXX
     Number (EIN)


4.   Debtor’s address              Principal place of business                                    Mailing address, if different from principal place of
                                                                                                  business

                                   252 4th Ave                                                    18276 Conneaut Lake Rd
                                   Rankin, PA 15104                                               Meadville, PA 16335
                                   Number, Street, City, State & ZIP Code                         P.O. Box, Number. Street, City. State & ZIP Code

                                  Allegheny                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor’s website (URL)


6.   Type of debtor                I Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   C Partnership (excluding LLP)
                                   C   Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    5171 Campbells Land Co., Inc.                                                                         Case number (if known)
          Name



7.   Describe debtor’s business        A. Check one:
                                       C   Health Care Business (as defined in 11 U.S.C.            §   101(27A))
                                       C   Single Asset Real Estate (as defined in 11 U.S.C.            §   101(51 B))
                                       C   Railroad (as defined in ii U.S.C.   §   101 (44))
                                       C   Stockbroker (as defined in ii U.S.C.     §   101 (53A))
                                       O   Commodity Broker (as defined in 11 U.S.C.           §   101(6))
                                       0   clearing Bank (as defined in ii   u.s.c. § 781(3))
                                       • None of the above

                                       B. Check all that apply
                                       0   Tax-exempt entity (as described in 26 U.S.C. §501)
                                       O   Investment company. including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §BOa-3)
                                       0   Investment advisor (as defined in   is u.s.c.       §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://w.uscourts.qov/four-diqit-national-association-naics-codes.
                                                  7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                       C   Cha p ter 7
                                       C   Chapter 9
                                       • Chapter 11. Check all that apply

                                                             C    Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than 52,725.625 (amount subject to adjustment on 4/01122 and every 3 years after that).
                                                             C    The debtor is a small business debtor as defined in ii U.S.C. § 101(510). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in ii u.s.c. § 1116(1)(B).
                                                             C    A plan is being filed with this petition.
                                                             C    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with ii U.S.C. § 1126(b).
                                                             C    The debtor is required to file periodic reports (for example, 10K and 100) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                             C    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2
                                       C   Chapter 12



9.   Were prior bankruptcy
     cases filed by or against
                                       • No
     the debtor within the last 8      C   Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                     When                                      Case number
                                                  District                                     When                                      Case number

10. Are any bankruptcy cases           • No
    pending or being filed by a
    business partner or an             C   Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                             Relationship

                                                  District                                     When                                  Case number, if known




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Debtor     5171 Campbells Land Co., Inc.                                                                          Case number (if known)
           Name



11. Why is the case filed In          Check all that apply:
    this district?
                                      •        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                               preceding the date of this petition or for a longer part of such 180 days than in any other district,
                                      o        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or          •   No
      have possession of any
                                                   Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      real property or personal       0   Yes.
      property that needs
      immediate attention?                         Why does the property need immediate attention? (Check all that apply)

                                                   0     it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?
                                                   C     It needs to be physically secured or protected from the weather.
                                                   0      It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                         livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                                   C     Other
                                                   Where is the property?
                                                                                        Number, Street, City, State & ZIP Code
                                                   Is the property Insured?
                                                   CNo
                                                   C     Yes.      Insurance agency
                                                                   Contact name
                                                                   Phone


           Statistical and administrative information

13.   Debtor’s estimation of      .              Check one:
      available funds
                                                 • Funds will be available for distribution to unsecured creditors.
                                                 C After any       administrative expenses are paid, no funds will be available to unsecured creditors.


14.   Estimated number of         0       1-49                                              C   1,000-5,000                                C   25,001-50,000
      creditors                   C       50-99                                             C   5001-10,000                                C   50,001-100,000
                                  C       100-199                                           C   10,001-25,000                              C   More thanloo,000
                                  U       200-999

15.   Estimated Assets            C       $0- $50,000                                       •   $1,000,001 $10 million
                                                                                                              -
                                                                                                                                           C   $500,000,001        $1 billion
                                  C       $50,001- $100,000                                 C   $10,000,001 $50 million
                                                                                                                  -
                                                                                                                                           C   $1,000,000,001- $10 billion
                                  C       $100,001- $500,000                                C   $50,000,001 $100 million
                                                                                                                  -
                                                                                                                                           C   $10,000,000,001      -   $50 billion
                                  C       $500,001 $1 million
                                                         -
                                                                                            C   $100,000,001 $500 million
                                                                                                                      -
                                                                                                                                           C   More than $50 billion


16.   Estimated liabilities       C       $0- $50,000                                       C   $1,000,001    -   $10 million              C   $500,000,001 $1 billion
                                                                                                                                                               -




                                  C       $50,001    -       $100,000                       •   $10,000,001       -   $50 million          C   $1,000,000,001- $10 billion
                                  C       $100,001       -   $500,000                       C   $50,000,001       -   $100 million         C   $10,000,000,001- $50 billion
                                  C       $500,001       -   $1 million                     C   $100,000,001          -   $500 million     C   More than $50 billion




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                  page 3
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Debtor   5171 Campbells Land Co., Inc.                                                               Case number   (if known)
         Name


          Request for Relief, Declaration, and Signatures

WARNING    —   Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
               imprisonment for up to 20 years, orboth. 16 U.S.C. § 152, 1341,1519, and 3571.

17. Declaration and signature
    of authorized                  The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                   I have been authorized to file this petition on behalf of the debtor.

                                   I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                   I declare under penalty of perjury that the foregoing is true and correct,

                                   Executed on      July 8,2019
                                                    MM I DD / YYYY


                               X   IsI William T. Kane                                                     William T. Kane
                                   Signature of authorized representative of debtor                        Printed name

                                   Title   President




18. Signature of attorney      X   Is! RobertO Lamp!                                                        Date July 8,2019
                                   Signature of attorney for debtor                                              MM / DD / YYYY

                                   RobertO Lampl 19809
                                   Printed name

                                   RobertO Lamp! Law Office
                                   Firm name

                                   Benedum Trees Building
                                   223 Fourth Avenue, 4th Floor
                                   Pittsburgh, PA 15222
                                   Number. Street, City. State & ZIP Code

                                   Contact phone      412-392-0330                  Email address      dampl@lampllaw.com


                                   19809 PA
                                   Bar number and State




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  Fill in this information to identify the case;
  Debtor name 5171 Campbells Land Co., Inc.
  United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                         C Check if this is an
                                                 PENNSYLVANIA
  Case number (if known):                                                                                                                                  amended Wing



 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
 Are Not Insiders                                                                           12/15

 A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case, Include claims which the
 debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. 101(31). Also, do not
                                                                                                           §
 include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
 among the holders of the 20 largest unsecured claims.

  Name of creditor and             Name, telephone number        ( Nature at claim           indicate If claim   Amount of claim
  complete mailing address,        and email address of            (for example, trade        is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount If
  including zip code               creditor contact              F professional
                                                                   debts! bank loans,        unllquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                             services,           disputed        value of collateral or setoff to calculate unsecured claim      —



                                                                  and government                                 Total claim, If            Oeductlon far value        Unsecured claim
                                                                J2pntracts)                                      pafllally secured         Jot collateral or setoff
                                                                                         —

                                                                                                                                          !
  Edward Peters                                                                              Unliquidated                                                                     $50,000.00
  1717 N. Bayshore                                                                           Disputed
  Dr., #2637
  Miami, FL 33132
                                                                                                             4         .—.-—



  Erie County Tax                                                                            Unllquldated                                                                     $41,636.60
  Claim Bureau
  140 West 6th Street,
  Rm. 110
  Erie, PA 16501
  Foundation Building                                                                        Unliquidated                                                                     $42925.30
  Materials
  6872 Paysphere
  Circle
  Chicago, IL
  60674-6872                                                         -




  Greg Greco Heating                                                                         Unliquidated                                                                     $62,983.00
 and Cooling
  P.O. Box 79036
  Pittsburgh, PA
  15216
 Internal Revenue                                                                            Unliquidated                                                          -        $350,000.00
 Service
 PC Box 7346
 Philadelphia, PA
[191017346
 L-Four L.P.
 924 Valleyview Road
 Pittsburgh, PA
 1 5243
 LED Solution
                                                    H                                        Contingent
                                                                                             Unliquidated
                                                                                             Disputed

                                                                                             Unliquidated
                                                                                                                                                                            5oo,aoa.00



                                                                                                                                                                            $175,8 ó9.48
 120 Applegate Court
[PelhamAL35124
 Mahoning County                                                                          Ünüquidated                                                                         $82,188.41
 Treasurer
 Daniel R. Yemma
 120 Market Street
 Youngstown, OH
 44503

Official form 204                                  Chapter 11 or Chapter 9 Cases List of Creditors Who Have the 20 Largest Unsecured claims                                    page 1

Software Copyright (c) 1996.2019 Best case, LLC kwnv beslcass Corn
                                               -
                                                                                                                                                                  Best case Bankruptcy
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  Debio                                                                                                         Case
             1?1                                                                                                       nu—,Der (‘(known)
             Name

  Name of creditor and            Name, telephone number 1Fiaiure oiiiiE                T[dite If claim fAnt of claim                —

  complete mailing address,       and email address of    (for example, trade             Is contingent,  if the claim is fully unsecured, fill in only unsecured claim amount, if
  including 2ip code              creditor contact        debts, bank loans,             unliquidated, or claim is partially secured, fill in total claim amount and deduction for
                                                          professional services,             disputed     value of collateral or setoff to calculate unsecured claim.      —    —   —




                                                                                                          Total claim. It            Deduction for value
                                                                                                                                      ‘                         Unsecured claim
                                                                                            .             partially securod          of collateral orsetoff
                                                                                                                                      -




 Meadville Plato                                                                          Unliquidated                                                                  $86,829.50
 Glass Co., Inc.
 299 Pine Street
 Meadville, PA 16335
 MGI Risk
 Management
 P.O. Box 62185
 Pittsburgh, PA
 15241
 NY Department of
 Taxation and
                                                              1                           Unliquidated F




                                                                                        ‘UnliqiidaiJ        -    -
                                                                                                                                                                        $43,440.00




                                                                                                                                                                        $90,811.00

 Finance
 P.O. Box 15148
 AThnY, tY i1
 Ohio Department of                                                                                                                                                   $835,786.00
 Taxation
 P0 Box 2678
 Columbus, OH
 43216-2678
 One Call Rentals                                                                         Unliquidated                                                                  $47,552.67
 309 Foothills Lane
 Mount Pleasant, PA
 15666
 PA Department of
 Revenue
 P.O. Box 280509
                                                                                        funHquidatea
                                                                                                                                     I                              $1,325,489.00


 Harrisburg, PA
l7218
 Perkins                                                                                 Unliquidated                                                              1 ,500,000.00
 6075 Poplar                                                                             Disputed
 Ave-#800
.McpwMig, T!L!1l
Perkins Holdings                                                                         Unliquidated       -                                                           $55,097.72
 LLC
Attn: Ben Mitchell
 14875 N.E. Tangen
Rd.
LN!crg Q?P71
Reinhart Food                                                                            Unliquidated                                                                 $435,361.29
Service
226 East View Dr.
Mount Pleasant, PA
15666
United Healthcare                                                                        Unliquidated                                                                   $79,627.48
UHS Premium
Billing
P.O. Box 94017
Palatine, IL
600944017




Official form 204                                 Chapter 11 or Chapter 9 Cases List of Creditors Who Have the 20 Largest Unsecured claims                               page   2

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                                              -                                                                                                             nest Case Oankruptcy
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  Debtor     5171                                                                                                      Case nu,vbe’ (if known)
                     c!!pPciLiz!n4cp.Jacr
             Name

  Name of creditor and               Name, telephone number Nature of claim                       Indicate if claim   Amount of claim
  complete mailing address,          and email address of   (for example, trade                    is contingent,     If the claim is hilly unsecured, fill in only unsecured claim amount, If
  Including zip code                 creditor contact       debts! bank loans!                    unllquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                            professional services,                   disputed         value of collateral or setoff to calculate unsecured_claim
                                                                                                                      Totat claim, Ii           foeductlon for value        Unsecured claim
                                                                                                                      partially secured         tcduIate1!rfl
  US Foodservice Rec                                                                             Un liquidated                                                                 $1,000,000.00
  Corp.
  P.O. Box 642561
  Pittsburgh, PA
  15264
  W T. Spaeder Co.,                                                                              Unliquidated                                  i                                  $151,582.89
  Inc.
  1602 East 18th                                                           I
  Street
  P.O. Box 10066
  Ere,PAi65i4                                             -




Official form 204                                         Chapter 11 or Chapter 9 Cases List of Creditors ‘o Have the 20 Largest Unsecured claims                                   page 3

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                                                            United States Bankruptcy Court
                                                                  Western District of Pennsylvania
  In re      5171 CampbeNs Land Co., Inc.                                                            Case No.
                                                                                 Debtor(s)           Chapter    11



                                             VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:        July 8,2019                                              Is/William T. Kane
                                                                       William T. Kane/President
                                                                       Signer/Title




Soitware copyright   1996.2019 Best Case! ILC wivw bestcaso.com                                                               Best case Bankruptcy
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                     3D Acquisitions LP
                     1520 Gilmore Drive
                     Clairton, PA 15025

                     5171 Campbells Land Co.
                     231 Chestnut St.
                     Meadville, PA 16335

                     A.J. Demor & Sons
                     2150 Eldo Rd.
                     Monroeville, PA 15146

                     Access Point
                     P.O. Box 382828
                     Pittsburgh, PA 15251

                     Ace Contractor Center
                     10944 Perry Hwy.
                     Rt. 19 So
                     Meadville, PA 16335

                     Affiliated Grounds Maint.
                     5148 Peach Street, Ste, 311
                     Erie, PA 16509

                     AIS Comm Parts
                     1005 Parkway View Dr.
                     Pittsburgh, PA 15205—1214

                     A: Farnham Maintenance LIC
                     1738 Cottage St.
                     Ashland, OH 44805

                     All Pro Landscaping
                     P.O. Box 360762
                     Strongsville, OH 44136

                     Allen Fag & Flagpoe
                     P.O. Box 6254
                     Cape Elizabeth, ME 04107

                     Amanda Bittinger
                     2078 Township Rd. 1095
                     Ashland, OH 44805

                     American Choice Apparel
                     618 Anderson Drive
                     Romeoville, IL 60446

                    American Electric Power
                    P.O. Box 371496
                    Pittsburgh, PA 15250—7496
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                     Am:rust Xorth Azerica
                     P.O. Box 5939
                     Cleveland, OH 44101-1939

                     Aqua Ohio
                     762 W. Lancaster Ave.
                     Bryn Mawr, PA 19010

                     Aqua Ohio Inc.
                     P.O. Box 1229
                     Newark, NJ 07101-1229

                     Armstrong
                     P.O. Box 37749
                     Philadelphia, PA 19101—5049

                     Ascentium Capital, LLC
                     23970 Hwy. 59N
                     Kingwood, TX 77339-1535

                     Ashland Area C of C
                     211 Claremont Ave.
                     Ashland, OH 44805

                     Ashland Comfort Control Inc.
                     805 East Main Street
                     Ashland, OH 44805

                     Ashland County Income Tax
                     Ashland Income Tax
                     218 Luther Street
                     Ashland, OH 44805

                     Ashtabula Co Treasurer
                     25 West Jefferson St.
                     Jefferson, OH 44047

                     AT&T
                     P.O. Box 5080
                     Carol Stream,      IL 60197—5080

                     B. E. Stahlman     -   Tax Collector
                     14932 Route 68
                     Sligo, PA 16255

                     B.Y. Lawncare
                     P.O. Box 1943
                     Cranberry Two,      PA 16066

                    Bainbridge LP
                    10245 Nancy Drive
                    Meadville, PA 16335
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                     Barone Murth Shonber
                     4701 Baptist Road
                     Pittsburgh, PA 15227

                     Basically Blinds
                     2790 Dry Valley Rd.
                     Lewistown, PA 17044

                     Be rkhe i me r
                     P.O. Box 25132
                     Lehigh Valley,       PA :8002

                     Berkheimer-Foster Twp LST/Dawn Bobcock
                     1185 Est Main Street
                     Bradford, PA 16701

                     Berkheimer-Harborcreek Twp LST
                     LST Collector Shelley Hull
                     5601 Buffalo Rd.
                     Harborcreek, PA 16421

                     Borough of Edinboro
                     124 Meadville Street
                     Edinboro, PA 16412

                     Borough of Grove City
                     123 W. Main St.
                     Grove City, PA 16127

                     Borough of Indiana Util.
                     80 N. 8th St. Ste 102
                                      ,

                     Indiana, PA 15701

                     Burmac Commercial Roofing
                     322 North Street
                     Springdale, PA 15144

                     Burner Service Co.
                     P.O. Box 661
                     Mentor, OH 44061-0661

                     Canfield City Income Tax
                     City of Canfield
                     104 Lisbon Street
                     Canfield, OH 44406

                     Carbons Golden Malted
                     P.O. Box 129
                     Concordville, PA 19331

                    Careworks camp
                    P.O. Box 8101
                    Dublin, OH 43016
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                     Case Sabatini
                     470 Streets Run Road
                     Pittsburgh, PA 15235

                     Casella Waste Service 60
                     P.O. Box 1372
                     Williston, VT 05495—1372

                     Century Link
                     P.O. Box 4300
                     Carol Stream,         IL 60197-4300

                     Cintas
                     EQ Box 630910
                     Cincinnati, OH 45253

                     City of Ashtabula Waste Water
                     P.O. Box 2210
                     Ashtabula, OH 44005—2210

                     City of Bradford Treasurer
                     P.O. Box 15
                     Bradford, PA 16701

                     City of Canfield Utility Dept.
                     104 Lisbon St.
                     Canfield, OH 44406

                     City of Cleveland Div. of Water
                     P.O. Box 94540
                     Cleveland, OH 44101-4540

                     City of Corry    Rot Lst
                                       -




                     100 S. Center St.
                     Carry, PA 16407

                     City of Corry Water
                     100 S. Center Sc.
                     Carry, PA 16407

                     City of Erie Treasurer
                     P.O. Box 1534
                     Hermitage, PA 16148

                     City of Hermitage
                     800 N. Hermitage Rd.
                     Hermitage, PA 16148

                     City of Herr.itage Sewer
                     P. 0. Box 5078
                     Hermitage, PA 16148-1078

                    City of Olean
                    P.O. Box 31
                    Warsaw, NY 14569
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                     City of Clean Water/Sewer
                     P.C. Box 668
                     Clean, NY 14760

                     City of Titusville Treasurer
                     107 N Franklin St.
                     Titusville, PA 16354

                     City of Warren, Util. Serv.
                     580 Laird Ave., S.E.
                     Warren, CM 44482

                     City Treasurer-Meadville
                     City Hall
                     894 Diamond Park
                     Meadville, PA 16335

                     Clarion Co. Tax Claim Bureau
                     330 ::ain St., Room. 101
                     Clarion, PA 16214

                     Clark Electric Inc.
                     53 South 4th Ave.
                     Clarion, PA 16214

                     Clearpoint IT Management
                     3001 Waterdam Plaza
                     Suite 280
                     Canonsburg, PA 15317

                     Coasc to Coast Computer Products
                     4277 Valley Fair St.
                     Simi Valley, CA 93063

                     Coca Cola N. Amer.
                     P.C. Box 102703
                     Atlanta, GA 30368

                     Columbia Gas
                     P.C. Box 742537
                     Cincinnati, OH 45274

                     Commonwealth of PA
                     Dept. of Agriculture
                     3201 N. Cameron St.
                     Harrisburg, PA 17110

                     Conneaut City Income Tax
                     Conneaut Income Tax Department
                     294 Main Street
                     Conneaut, CH 44030

                     Conneaut Water & Sewer Dept.
                     294 Main St.  City Hall Bldg.
                                     -




                     Conneaut, CH 44030
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                     Consolidated Co-anicacions
                     P.O. Box 66523
                     Saint LouiS, MD 63166—6523

                     Cozzini Bros. Inc.
                     350 Howard Avenue
                     Des Plaines, IL 60018

                     Cranberry Township
                     2525 Rochester Rd. Suite 400
                                              ,

                     Crafrerry Two, PA 16066

                     Crawford Co. Tax Claim Bureau
                     903 Diamond Square
                     Meadvi]Ze, PA 15335

                     Crawford County Treasurer
                     Courthousem 903 Diamond Park
                     Meadville, PA 15335

                     Curt Hall
                     649 County Road 1802
                     Ashland, OH 44805

                     Da:on’s San-Ser
                     140 Norwood Dr.
                     Beaver Falls, PA 15010

                     Dan Buxton Roofing
                     5020 SouthwaySt., S.W.
                     Canton, OH 44706

                     Daniel Sayers
                     2141 S. Manor Drive
                     Erie, PA 16505

                     Darling Inc Inc.
                     P.O. Box 552210
                     Detroit, MI 48255-2210

                     Datatek Services Inc.
                     P.O. Box 918
                     Oak Forest, IL 60452

                     Dawn Pavlik
                     231 Chestnut St.  *302
                                          —




                     Meadville, PA 16335

                     D ayma rk
                     12836 South Dixie Hwy.
                     Bowling Green, o:-E 43402

                    Doctor Dead-Bug Inc.
                    225 6th St.
                    Ellwood City, PA 16117
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                     Dollar Bank
                     Three Gateway Center
                     Pittsburgh, PA 15222

                     Dominion Energy Ohio
                     P.O. Box 26785
                     Richmond, VA 23261-6785

                     Edison Landscape & Deck Lighting LLC
                     9883 South Avenue
                     Poland, OH 44514

                     Edward Peters
                     1717 N. Bayshore Dr., *2637
                     Miami, FL 33132

                     Elmhurst Prop Inc.
                     2170 Millennium Blvd.      ,   Suite K
                     Cortland, OH 44410

                     Enviro Master of Pittsburgh
                     P0 Box 12350
                     Charlotte, NC 28220

                     Erie County Tax Claim Bureau
                     140 West 6th Street, R-t. 110
                     Erie, PA 16501

                     Erie Water Works
                     P.O. Box 4170
                     Woburn, MA 01888—4170

                     Field Club Corctons
                     Rosecroft Center LLC
                     20930 Maple Heights
                     Maple Heights, OH 44137

                     Fine Print
                     287 Chestnut St.
                     :1eadville, PA 16335

                     First National Bank
                     Attn: Legal Dept.
                     3015 Glimcher Blvd.
                     Hermitage, PA 16148

                     Foster Twp. Sewer Fund
                     1185 East Main St.
                     Bradford, PA 16701

                     Foulk’s Flooring America
                     15627 Conneaut Lake Rd.
                     Meadville, PA 16335
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                     Foundation Building Materias
                     5872 Paysphere Circle
                     Chicago, IL 60674—6872

                     Franklin Machine Products LLC
                     P.O. Box 74007311
                     Chicago, :: 60674-7311

                     Frantz & Russell Inc.
                     1428 Foote Ave Ext.
                     Jamestown, NY 14701

                     Gerald R. Fry Co., Inc.
                     170 Hadley Rd.
                     Greenville, PA 16125

                     Give Kids the World
                     do Perkins-Anita Gates
                     6075 Poplar Ave
                     Memphis, TN 38119

                     Grainger
                     Dept. 871892600
                     Palatine, IL 60038—0001

                     Great American Financial Svcs.
                     P.O. Box 660831
                     Dallas, TX 75266—0831

                     Greater Clean Area C of C
                     301 N. Union St., Suite 101
                     Olean, NY 14760

                     Greenville Water Authority
                     44 clinton st.
                     Greenville, PA 16125

                     Greg Greco Heating and Cooling
                     P.O. Box 79036
                     Pittsburgh, PA 15216

                     Guardian Alarm Co.
                     75 Remittance Dr. Dept 1375
                                           ,

                     Chicago, IL 60675-1376

                     Hagan Business Machines-Meadville
                     P.O. Box 1428
                     Meadvilie, PA 16335

                     Harborcreek Twp. Tax Collector
                     5601 Buffalo Rd.
                     Harborcreek, PA 15421
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                     Hemptield Twp. Authority
                     278 South Mercer St.
                     Greenville, PA 16125

                     Heppner-Pritt & Assoc. Inc.
                     3407-A Kuenerle Ave., N.E.
                     Canton, OH 44705

                     Heritage Food Service Group
                     P.O. Box 71595
                     Chicago, IL 60694-1595

                     Hermitage Treasurer
                     800 N. :-ermitage Rd.
                     Hermitage, PA 16148

                     Huberty Electric
                     7685 Arlington Rd. N.W.
                     Massillon, OH 44646

                     IEM?S d/b/a GSG Financial
                     5 es 36th St.
                     Suite 701
                     New York, NY 10018

                     Imperial Glazing Concepts,        Inc.
                     234 Robbins Ave.
                     Niles, OH 44446

                     Indiana County Tax Collector
                     2275 Philadelphia St.
                     Indiana, PA 15701

                     Ingiewood Associates LIC
                     9242 Headlands Rd.
                     Mentor, OH 44060

                     Incegra Realty Resources
                     8241 Cornell Rd. Suite 210
                                          ,

                     Cincinnati, OH 45249

                     Internal Revenue Service
                     P0 Box 7346
                     Philadelphia, PA 19101—7346

                     IRR Supplies Center
                     908 Niagara Falls Blvd.
                     North Tonawanda, NY 14120

                     J&S Landscaping Co.
                     360 Second Ave.
                     Freedom, PA 15042
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                     JC Erlich
                     P.O. Box 13848
                     Reading, PA 19612-3848

                     UD:K Real Estate, LLC
                     6201 Steubenville Pike, Suite 210
                     Mc Kees Rocks, PA :5136—1344

                     Joshs lawncare & landscaping
                     5830 Broadway Ave.
                     Louisville, OH 44641

                     JV Sufface Water Services
                     Jasohn Vansicle
                     325 E. Pendelton St.
                     Loudonville, OH 44842

                     Kaza Fire Equipment LIC
                     155 Lovell Ave.
                     Ebensburg, PA 15931

                     Kens Custom Upholstering
                     Ken Hunt
                     11198 Liberty St.
                     Meadville, PA 16335

                     Kens Lawn Maintenance
                     680 Center Road
                     Conneaut, OH 44030

                     Keys tone
                     P.O. Box 559
                     Irwin, PA 15642

                     Keystone Collections Group-Monroe Thp
                     P.O. Box 559
                     Irwin, PA :5542

                     Koldrock
                     P.O. Box 248
                     Edinboro, PA 16412

                     L&W Supply
                     2011 W. 12th Street
                     Erie, PA 16505

                     I-Four L.P
                     924 Valleyview Road
                     Pittsburgh, PA 15243

                     Landmiller Landscape
                     849 Clark Ave
                     Ashland, OH 44805
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                     LED Solution
                     120 Applegate Court
                     Pelham, AL 35124

                     Lilac Investments LLC
                     P.O. Box 81651
                     Pittsburgh, PA 15217

                     LST Collector Vernon Twp.
                     11031 State Highway 18
                     Conneaut Lake, PA 16316

                     Mahoning County Treasurer
                     Daniel R. Yemma
                     :20 :v:arket Street
                     Youngstown, OH 44503

                     Mark A. Villers
                     21542 Golden Drive
                     Meadville, PA 16335

                     Mark Maynard
                     11370 Pavmee Drive
                     Meadville, PA 16335

                     McAdoo Motorsports Inc.
                     8727 Rte. 422 Hwy. West
                     Indiana, PA 15701

                     McGann Plumbing/Heating
                     P.O. Box 86
                     Blairsville, PA 15717

                     McGill, Power, Bell & Assoc.
                     623 State St.
                     Meadvilie, PA 16335

                     Meadville Ace Cont.
                     10944 Perry Highway
                     Meadville, PA 16335

                     Meadville Plate Glass Co.,        Inc.
                     299 Pine Street
                     Meadville, PA 16335

                     Meadville-W. Crawford County C of C
                     908 Diamond Park
                     Meadville, PA 16335

                     Mercer County Tax Claim Bureau
                     3 Courthouse
                     Mercer, PA 16137-1223
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                     Merchant Link Lockbox
                     26125 Network Place
                     Chicago, IL 60673—1261

                     MGI Risk Management
                     P.O. Box 62185
                     Pittsburgh, PA 15241

                     Midwest Systems & Services Inc.
                     P.O. Box 15033
                     Evansville, IN 47716

                     Miller Sewer & Drain Cleaning
                     2416 Station Rd.
                     Erie, PA” 16510

                     Mills Enterprises LLC
                     2595 South Work St.
                     Falconer, NY 14733

                     Mood Media
                     P.O. Box 71070
                     Charlotte, NC 28272—1070

                     National Fuel
                     P.O. Box 371835
                     Pittsburgh, PA 15250—7835

                     Nacional Grid
                     P.O. Box 11742
                     Newark, NJ 07101—4742

                     Neshannock Tax Collector
                     3131 Mercer Rd., Ste 2
                     New Castle, PA 16105

                     Neshannock Township Sewer
                     P.O. 3ox 10116
                     Dilliner, PA 15327

                     Neshannock Twp. LST Coll. Pat Columbus
                     Georgann Gall   Tax Collector
                                       -




                     3131 Mercer Rd.
                     New Castle, PA 16105

                     New York Department of Labor-Unemploymen
                     P.O. Box 15177
                     Albany, NY 12212

                     Niles Electric
                     34 W. State St.
                     Niles, OH 44446
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                     Northeast OH Reg Sewer Dst
                     P.O. Box 94550
                     Cleveland, OH 44101

                     NU C02 LLC
                     p.o. Box 417902
                     Boston, MA 02241

                     NY Department of Taxation and Finance
                     P.O. Box 15148
                     Albany, NY 12212

                     NY Department of Taxation and Finance
                     P.O. Box 15148
                     Albany, NY 12212

                     Ohio Bureau of Employment
                     Dept. of Job and Family Services
                     47 North Main Street
                     Akron, OH 44308

                     Ohio Department of Taxation
                     P0 Box 2678
                     Columbus, OH 43216-2678

                     Ohio Edison
                     P.O. Box 3687
                     Akron, OH 44309

                     Ohio Logos Inc.
                     4384 Tuller Rd.
                     Dublin, OH 43017

                     Olean City School District
                     410 W. Sullivan
                     Olean, NY 14760

                     One Call Rentals
                     309 Foothills Lane
                     Mount Pleasant, PA 15666

                     Oracle America Inc.
                     P.O. Box 203448
                     Dallas, TX 75320—3448

                     Orkin Pest Control #928
                     2630 5. work St.
                     Falconer, NY 14733

                     P. J. Lynd T.C.
                     2525 Rochester Rd.
                     Cranberry Twp, PA 16066
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                     PA American Water
                     P.O. Box 371412
                     Pittsburgh, PA 15250—7412

                     PA Department of Revenue
                     P.O. Box 280412
                     Harrisburg, PA 17128

                     PA Department of Revenue
                     P.O. Box 280509
                     Harrisburg, PA 17218

                     PA Municipal Service Co.
                     Dept U 5u0
                     336 Delaware Ave.
                     Oakmon:, PA 15139—2138

                     PA One Call System, Inc.
                     P0 Box 641121
                     Pittsburgh, PA 15264—1121

                     Park Centre Development Inc.
                     1 Bluebird Square #1
                     Olean, NY 14760

                     Paul Becker
                     23 Swietzer Dr.
                     Duke Center, PA 16729

                     Penelec
                     P.O. Box 3687
                     Akron, OH 44309-3687

                     Penn Power
                     P.O. Box 3687
                     Akron, OH 44309

                     Pennsylvania Unemooyment Fund
                     PA Dept.     Labor and :nduscry
                                 of

                     651 Boas St.
                     Harrisburg, PA 17121

                     PeOples Gas
                     P.O. Box 644760
                     Pi:tsburgh, PA 15264

                     Perkins
                     6075 Poplar Ave-800
                     Memphis, TN 38119

                    Perkins Holdings LLC
                    Attn: Ben Mitchell
                    14875 N.E. TangenRd.
                    Newberg, OR 97132
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                     Peter U. Kaplan
                     105 Yialiard LN
                     Canonsburg, PA 15317

                     Peter U. Kaplan c/c Joseph Hudak
                     P.O. Box 11242
                     Pittsburgh, PA 15238

                     Phillip Crawford
                     c/c Perkins Restaurant
                     20013 Route 19
                     Cranberry Two, PA 16066

                     PNF Rentals
                     124 Piunkett Drive
                     Zelienople, PA 16063

                     Precision Copy Products Inc.
                     600 State Street
                     Clairton, PA 15025

                     Pyler Entry Systems
                     8850 Fry Road
                     Mc :Kean, PA 16426

                     R.I.T.A.
                     10107 Brecksvie Rd.
                     Brecksville, OH 44141

                     Red Book Solutions
                     33270 Collection Center Dr.
                     Chicago, IL 50503—3200

                     Reilly Sweeping Inc.
                     P.O. Box 780415
                     Philadelphia, PA 19178—0415

                     Reinhart Food Service
                     225 East View Dr.
                     Mount Pleasant, PA .5666

                     Renovator Rich Thiel
                     315 Main Street
                     Prospect, PA 16052

                     Republic Waste Service
                     P.O. Box 9001099
                     Louisville, KY 40290-1099

                     Robert Foulkrod
                     195 Old Fredonia Road
                     Mercer, PA 16137
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                     Robert Roell
                     312 Albert Street
                     Pittsburgh, PA 15211

                     Ron Miller Plumbing
                     157 Hillcrest Drive
                     New Brighton, PA 15066

                     Rooter-Man
                     620 East Main Street Ext.
                     Grove City, PA 16127

                     Rumpke Consolidated
                     P.O. Box 538710
                     Cincinnati, OH 45253—87:0

                     Sage Checks & Forms
                     P.O. Box 935021
                     Atlanta, GA 31193—5021

                     Sage Net
                     P.O. Box 843553
                     Kansas City, MO 64184—3553

                     Shamrock Building Services, Inc.
                     535 Forest Avenue
                     Carnegie, PA 15106

                     Siegeljennings
                     23425 Commerce Park Drive, Suite 103
                     Cleveland, O-! 44122

                     Snyder Brothers, Inc.
                     One Glade Park East
                     P.O. 3ox 1022
                     :Kittanning, PA 16201

                     Standard Plumbing & Heating Inc.
                     P.O. Box 20650
                     Canton, OH 44701—0650

                     Staples Advantage
                     P.O. Box 70242
                     Philadelphia, PA 19176—0242

                     Stark Co Metro Sewer Dist.
                     P. 0. Box 9972
                     Canton, OH 44711-0972

                     Stark County Treasurer
                     110 Central Plaza South
                     Suite 250
                     Canton, OH 44702—1410
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                     Staybridge Suites-Pittsburgh/cranberry
                     915 Brush Creek Rd.
                     Warrendale, PA 15086

                     Stephen Maglin
                     1884 Tilton Drive
                     Pic:sburgh, PA 15241

                     Stitts Nursery & Landscaping
                     93 McCloskey Rd.
                     Leeper, PA 16233

                     Store capital Acquisitions, LLC
                     8377 E. Hartford Dr.
                     Suite 100
                     Scottsdale, AZ 85255

                     Store Master Funding XIII, LLC
                     8377 E. Hartford Dr., Suite 100
                     Scottsdale, AZ 85255

                     Strong Lawns/Kem-R Lawns
                     801 Harvey Run Rd.
                     Freedom, PA 15042

                     Sunbelt Rentals Inc.
                     PD Box 409211
                     Atlanta, GA 30384

                     Taylor Steamer Cleaning
                     220 N. Mulbery St.
                     Mansfield, OH 14902

                     Technic
                     P.O. Box 882
                     Dyersburg, TN 38025

                     The Illuminating company
                     P.O. Box 3687
                     Akron, OH 44309

                     Time Warner cable NE
                     P.O. Box 901
                     carol Stream, IL 60132-0901

                    Titusville Treasurer. Tax claim Bureau
                    Christine Krzysiak,Treasurer
                    903 Diamond Park
                    Meadville, PA 16335

                    Trabon
                    P.O. Box 87-8700
                    Kansas City, MO 64187-8700
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                     Trace Lawn & Landscaping Inc.
                     14515 Bidwin St. Ext.
                     Meadvilie, PA 16335

                     Treasurer of Lawrence County
                     430 Court St.
                     6,685.98, PA 16101

                     Treasurer of State of Ohio
                     Ohio Department of Taxation
                     Columbus, OH 43216

                     Treasurer, State of Ohio
                     P.O. Box 182215
                     Colunbus, OH 43218—2215

                     Tn County :nd.
                     P.O. Box 858
                     Mars, PA 16046

                     Tn State Equipment
                     815 22nd Street
                     Beaver Falls, PA 15010

                     Triton Imaging Systems
                     3120 Via Coilinas, Ste. 103
                     Westlake Village, CA 91362

                     Trum Co. Water Sewer
                     842 Youngstown-Kingsville Rd.
                     Vienna, OH 44473

                     United Concordia
                     P0 Bcx 827399
                     Philadelphia, PA 19182

                     United Healthcare
                     UHS Premium Billing
                     P.O. Box 94017
                     Palatine, IL 60094—4017

                     Unum Life Ins.
                     P.O. Box 406990
                     Atlanta, GA 30384

                     US Foodservice Rec Corp.
                     P.O. Box 642561
                     Pittsburgh, PA 15254

                     Valley Corunications :LC
                     4459 Orangeville Sharon Rd.
                     Burghill, OH 44404
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                     Verizon
                     P.O. Box 15124
                     Albany, NY 12212

                     Vernon Two. Tax Collector
                     Dorothy Longs treth
                     9511 Krider Rd.
                     Meadville, PA 16335

                     Vernon Twp. Water & Sewage
                     16678 McMath Ave.
                     Meadville, PA 16335

                     Vision Financial Group
                     615 Iron City Drive
                     Pittsburgh, PA 152C5

                     Vogels Disp Service,       Inc.
                     Box 847
                     Mars, PA 16046

                     W T. Spaeder Co., Inc.
                     1602 East 18th Street
                     P.O. Box 10066
                     Erie, PA 16514

                     W. E. Unger & Associates
                     Bill Unger
                     P.O. Box 1283
                     Meadville, PA 16335

                     Warren City Tax Office
                     318 W. Third Avenue
                     Warren, PA 16365

                     Warren City Tax Office-Earned Income
                     318 W. Third Avenue
                     Warren, PA 16365

                     Waste Management
                     P.O. Box 13648
                     Philadelphia, PA 19101

                    Watkins General Contracting
                    10160 Old Route 99
                    I1cKean, PA 16426

                    West Penn Power
                    P.O. Box 3687
                    Akron, OH 44309-3687

                    West Penn Power-Cairton
                    P.O Box 3615
                    Akron, OH 44309-3615
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                     White Twp. light Fund
                     950 Indian Springs Road
                     Indiana, PA 15701

                     White Twp. Sewer Service
                     950 Indian Springs Road
                     Indiana, PA 15701

                     William Blatc-Hemp TX Coil.
                     278 S. Mercer Sc.
                     Greenville, PA 15125

                     Winds tream
                     P.O. Box 9001908
                     Louisville, KY 40290

                     Yard.aiaster of Pennsylvania Inc.
                     Dept. 5587
                     2505 Manchester Rd.
                     Erie, PA 16506

                     Youngstown Water Department
                     P.O. Box 6219
                     Youngstown, OH 44501-6219
